                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:06cr190

UNITED STATES OF AMERICA                            )
                                                    )
                      vs.                           )
                                                    )                        ORDER
JUSAMUEL R. MCCREARY                                )
                                                    )


       THIS MATTER is before the Court upon motion of the defendant for a continuance of

the sentencing hearing in this matter from November 15, 2007, in the Charlotte Division. (Doc.

No. 58).

       For the reasons stated in the defendant’s motion, the Court finds sufficient cause for a

continuance in this matter.

       IT IS, THEREFORE, ORDERED that the sentencing hearing in the above captioned

case be continued to December 7, 2007 at 11:00 a.m.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.


                                               Signed: November 8, 2007




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